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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

BRADY SCHMITENDORF, individually and
on behalf of all others similarly situated,           Case no.

                       Plaintiff,
                                                      CLASS ACTION
       v.
                                                      JURY DEMAND
JUICY’S VAPOR LOUNGE INC., an
Oklahoma corporation,

                       Defendant.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Brady Schmitendorf (“Plaintiff” or “Plaintiff Schmitendorf”) brings this Class

Action Complaint and Demand for Jury Trial against Defendant Juicy’s Vapor Lounge Inc.

(“Defendant” or “Juicy's Vapor Lounge”), to stop the Defendant from violating the Telephone

Consumer Protection Act (“TCPA”) by sending unsolicited telemarketing text messages to

consumers who registered their phone numbers on the Do Not Call registry (“DNC”), and to

otherwise obtain injunctive and monetary relief for all persons injured by Defendant’s actions.

Plaintiff alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                           PARTIES

       1.      Plaintiff Schmitendorf is a resident of Emporia, Kansas.

       2.      Defendant Juicy’s Vapor Lounge is an Oklahoma corporation incorporated and

headquartered at Ponca City, Oklahoma. Juicy’s Vapor Lounge conducts business throughout this

District, Kansas, and the United States.
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                                 JURISDICTION AND VENUE

        3.      This Court has federal question subject matter jurisdiction over this action under 28

U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227

(“TCPA”).

        4.      This Court has personal jurisdiction over Defendant because Defendant conducts

business in this District and directed telemarketing texts to Plaintiff here in connection with that

business.

        5.      The venue is proper in this District under 28 U.S.C. § 1391(b) because Plaintiff

resides here and the wrongful conduct leading to this case was directed by Defendant to the

Plaintiff into this District.

                                        INTRODUCTION

        6.      As the Supreme Court recently explained, “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls. The Federal Government

receives a staggering number of complaints about robocalls—3.7 million complaints in 2019

alone. The States likewise field a constant barrage of complaints. For nearly 30 years, the people’s

representatives in Congress have been fighting back.” Barr v. Am. Ass'n of Political Consultants,

No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

        7.      The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

        8.      A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.” Id.




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         9.      When Congress enacted the TCPA in 1991, it found that American were receiving

more than 18 million calls every day. 105 Stat. 2394 at § 2(3).

         10.     By 2003, due to more powerful autodialing technology, American were receiving

more than 100 million calls every day. In re Rules and Regulations Implementing the TCPA of

1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

         11.     The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.

         12.     Industry data shows that the number of robocalls made each month increased from

831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three years.

         13.     According to online robocall tracking service “YouMail,” 4.3 billion robocalls were

placed in June 2022 alone, at a rate of 144.3 million calls per day. www.robocallindex.com (last

visited July 5, 2022)

         14.     The FCC also has received an increasing number of complaints about unwanted

calls, with over 155,000 complaints in 2020, and 160,000 complaints in 2021. FCC, Consumer

Complaint Data Center, www.fcc.gov/consumer-help-center-data.

         15.     “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement

of FCC chairman.1

         16.     “The FTC receives more complains about unwanted calls than all other complaints

combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules




1
    https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls


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and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of

Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016). 2

                                     COMMON ALLEGATIONS

          17.    Defendant Juicy’s Vapor Lounge sells tobacco products including e-cigarettes,

vapers, vaper liquids and other related products to consumers in Kansas and other states across the

U.S. 3

          18.    Defendant sends telemarketing text messages to consumers across the U.S.

soliciting the consumers to purchase their products.

          19.    Defendant sends telemarketing text messages to consumers whose numbers are

registered on the Do Not Call registry, who have never provided their phone number to Defendant,

who never consented to receive phone calls from the Defendant and continues to send the

telemarketing messages to their phones even after the consumers have requested the Defendant to

stop sending solicitation material to their phone numbers, like in Plaintiff Schmitendorf’s case.

          20.    In response to these unsolicited telemarketing text messages, Plaintiff Schmitendorf

files this lawsuit seeking monetary and injunctive relief requiring the Defendant to cease from

violating the Telephone Consumer Protection Act, as well as an award of statutory damages to the

members of the Classes and costs.

                      PLAINTIFF SCHMITENDORF’S ALLEGATIONS

          21.    Plaintiff Schmitendorf‘s cell phone number has been registered with the DNC since

October 20, 2021.



2
 https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
3
    https://juicysvaporlounge.com/


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       22.     Plaintiff Schmitendorf uses his cell phone number for personal use only.

       23.     In May 2022, Plaintiff started receiving telemarketing text messages promoting

Defendant’s e-cigarette related products to Plaintiff.

       24.     On May 3, 2022, at 1:40 PM, Plaintiff received a text message on his cell phone

from the phone number 916-529-4200, soliciting Plaintiff to purchase Defendant’s products at a

discount.




       25.     On May 3, 2022, at 3:28 PM, Plaintiff received another text message on his cell

phone from the same phone number 916-529-4200, soliciting Plaintiff to purchase Defendant’s

products. The solicitation text said, “Reply STOP to opt out.”. Plaintiff responded to this text

message by sending “STOP” back.

       26.     On May 3, 2022, at 7:43 PM, despite making a STOP request, Plaintiff again

received the same solicitation text from Defendant using the same phone number 916-579-4200.




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       27.    On May 4, 2022, at 6:01 AM, Plaintiff received yet another solicitation text from

Defendant using the same phone number 916-579-4200. Plaintiff again responded to the text

message with STOP, hoping to get the Defendant to stop sending telemarketing text to Plaintiff’s

cell phone.




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       28.       On May 6, 2022, at 9:12 AM, Plaintiff received another telemarketing text from

Defendant Juicy’s Vapor Lounge using the phone number 855-710-0901 to his cell phone

soliciting Plaintiff to purchase Defendant’s products, despite Plaintiff’s multiple stop requests to

the Defendant.

       29.       On May 10, 2022, at 11:11 AM, Plaintiff received another telemarketing text from

Defendant Juicy’s Vapor Lounge using the phone number 855-710-0901 to his cell phone

soliciting Plaintiff to purchase Defendant’s products, despite Plaintiff’s multiple stop requests to

the Defendant.




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       30.       On May 18, 2022, at 9:15 AM, Plaintiff received another telemarketing text from

Defendant Juicy’s Vapor Lounge using the phone number 855-710-0901 to his cell phone

soliciting Plaintiff to purchase Defendant’s products, despite Plaintiff’s multiple stop requests to

the Defendant.




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       31.     On July 1, 2022, at 12:00 PM, Plaintiff received yet another telemarketing text from

Defendant Juicy’s Vapor Lounge using the same phone number 855-710-0901 to his cell phone

soliciting Plaintiff to purchase Defendant’s products, despite Plaintiff’s multiple stop requests to

Defendant. This telemarketing text was to promote Defendant’s “4 th of July Sale”.




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       32.     The telemarketing text Defendant sent to Plaintiff’s cell phone on May 3, and May

4, 2022, contained a shortened link, “https://tinyurl.com/yxltzswu”. On clicking this hyperlink, it

redirects users to a static webpage with Defendant’s banner:




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4
 https://eyeratereviews.com/content?text=Buy-One-Get-One-
Free%20Juicy%27s%20Premium%20E-liquids%20all%20day%20long!%20&image=


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       33.     The promotional images used by Defendant Juicy’s Vapor Lounge in the

solicitation text messages sent to Plaintiff’s cell phone for their promotional offer, “BOGO” has

also been posted on Defendant’s Instagram account.




       34.     Defendant also posted an offer almost the same as the promotional offer for the “4 th

of July Sale” that Defendant sent to Plaintiff’s cell phone on July 1, 2022, on their Instagram

account just before the July 4, 2021:




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       35.     Plaintiff Schmitendorf never consented to receiving telemarketing solicitation text

messages from Defendant Juicy’s Vapor Lounge.

       36.     In addition, Plaintiff specifically instructed Defendant to stop sending

telemarketing text messages to his cell phone, but Defendant continues to place unsolicited

telemarketing text messages to Plaintiff’s cell phone number, failing to honor multiple stop

requests made by Plaintiff.

       37.     The unauthorized text messages placed by Defendant, as alleged herein, have

harmed Plaintiff Schmitendorf in the form of annoyance, nuisance, and invasion of privacy, and

disturbed the use and enjoyment of his phone, in addition to the wear and tear on the phone’s

hardware (including the phone’s battery) and the consumption of memory on the phone.

       38.     Seeking redress for these injuries, Plaintiff Schmitendorf, on behalf of himself and

Classes of similarly situated individuals, bring suit under the Telephone Consumer Protection Act,



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47 U.S.C. § 227, et seq., which prohibits unsolicited telemarketing calls to phone numbers that are

registered on the DNC.

                                    CLASS ALLEGATIONS

        39.     Plaintiff Schmitendorf brings this action pursuant to Federal Rules of Civil

Procedure 23(b)(2) and 23(b)(3) and seeks certification of the following Classes:

        Do Not Call Registry Class: All persons in the United States who from four years prior to
        the filing of this action through class certification (1) Defendant Juicy’s Vapor Lounge
        called or texted more than one time, (2) within any 12-month period, (3) where the person’s
        phone number had been listed on the National Do Not Call Registry for at least thirty days
        (4) for substantially the same reason Defendant texted Plaintiff.
        Internal Do Not Call Class: All persons in the United States who from four years prior to
        the filing of this action through class certification (1) Defendant Juicy’s Vapor Lounge
        called or texted more than one time (2) within any 12-month period (3) for substantially
        the same reason Defendant texted Plaintiff, (4) including at least once after the person
        requested that Defendant stop calling and/or texting.

        40.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, their

subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against the Defendant has been fully and finally adjudicated and/or

released. Plaintiff Schmitendorf anticipates the need to amend the Class definitions following

appropriate discovery.

        41.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable, and Plaintiff is a member

of all the Classes.




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       42.     Commonality and Predominance: There are many questions of law and fact

common to the claims of the Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

       (a)     whether the Defendant or an agent calling on behalf of Defendant placed multiple

               calls and/or text messages within a 12-month period to Plaintiff and members of

               the Do Not Call Registry class without first obtaining consent to make the calls;

       (b)     whether the Defendant or an agent calling on behalf of Defendant engaged in

               telemarketing without implementing adequate internal policies and procedures for

               maintaining an internal do not call list;

       (c)     whether Defendant’s conduct violated the TCPA;

       (d)     whether members of the Classes are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

       43.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting this

action on behalf of the members of the Classes, and have the financial resources to do so. Neither

Plaintiff Schmitendorf nor his counsel have any interest adverse to the Classes.

       44.     Appropriateness: This class action is also appropriate for certification because the

Defendant has acted or refused to act on grounds generally applicable to the Classes as a whole,

and thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

conduct toward the members of the Classes and making final class-wide injunctive relief




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appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

to the Classes as a whole, not on facts or law applicable only to Plaintiff Schmitendorf.

Additionally, the damages suffered by individual members of the Classes will likely be small

relative to the burden and expense of individual prosecution of the complex litigation necessitated

by Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action provides

the benefits of single adjudication, economies of scale, and comprehensive supervision by a single

court.

                                 FIRST CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
           (On Behalf of Plaintiff Schmitendorf and the Do Not Call Registry Class)

         45.   Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

         46.   The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or his telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.”

         47.   Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).




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       48.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff Schmitendorf and the Do Not Call

Registry Class members who registered their respective telephone numbers on the National Do

Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       49.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one telephone solicitation in a 12-month period made by or on

behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of

Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual

damages and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in

damages for such violations of 47 C.F.R. § 64.1200.

       50.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                              SECOND CAUSE OF ACTION
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
          (On Behalf of Plaintiff Schmitendorf and the Internal Do Not Call Class)

       51.     Plaintiff repeats and realleges the paragraphs 1 through 44 of this Complaint and

incorporates them by reference herein.

       52.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:


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              (1) Written policy. Persons or entities making calls for telemarketing
              purposes must have a written policy, available upon demand, for
              maintaining a do-not-call list.
              (2) Training of personnel engaged in telemarketing. Personnel engaged in
              any aspect of telemarketing must be informed and trained in the existence
              and use of the do-not-call list.
              (3) Recording, disclosure of do-not-call requests. If a person or entity
              making a call for telemarketing purposes (or on whose behalf such a call is
              made) receives a request from a residential telephone subscriber not to
              receive calls from that person or entity, the person or entity must record the
              request and place the subscriber's name, if provided, and telephone number
              on the do-not-call list at the time the request is made. Persons or entities
              making calls for telemarketing purposes (or on whose behalf such calls are
              made) must honor a residential subscriber's do-not-call request within a
              reasonable time from the date such request is made. This period may not
              exceed thirty days from the date of such request. If such requests are
              recorded or maintained by a party other than the person or entity on whose
              behalf the telemarketing call is made, the person or entity on whose behalf
              the telemarketing call is made will be liable for any failures to honor the do-
              not-call request. A person or entity making a call for telemarketing purposes
              must obtain a consumer's prior express permission to share or forward the
              consumer's request not to be called to a party other than the person or entity
              on whose behalf a telemarketing call is made or an affiliated entity.
              (4) Identification of sellers and telemarketers. A person or entity making a
              call for telemarketing purposes must provide the called party with the name
              of the individual caller, the name of the person or entity on whose behalf
              the call is being made, and a telephone number or address at which the
              person or entity may be contacted. The telephone number provided may not
              be a 900 number or any other number for which charges exceed local or
              long distance transmission charges.
              (5) Affiliated persons or entities. In the absence of a specific request by the
              subscriber to the contrary, a residential subscriber's do-not-call request shall
              apply to the particular business entity making the call (or on whose behalf
              a call is made), and will not apply to affiliated entities unless the consumer
              reasonably would expect them to be included given the identification of the
              caller and the product being advertised.
              (6) Maintenance of do-not-call lists. A person or entity making calls for
              telemarketing purposes must maintain a record of a consumer's request not
              to receive further telemarketing calls. A do-not-call request must be
              honored for 5 years from the time the request is made.

       53.    Defendant, or an agent calling on behalf of Defendant placed calls and/or text

messages to Plaintiff and members of the Internal Do Not Call Class without implementing internal


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procedures for maintaining a list of persons who request not to be called by the entity and/or by

implementing procedures that do not meet the minimum requirements to allow the Defendant or

its agent to initiate telemarketing calls.

        54.     The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

        55.     The Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

Defendant’s conduct, Plaintiff and the other members of the Internal Do Not Call Class are each

entitled to up to $1,500 per violation.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Schmitendorf, individually and on behalf of the Classes, prays

for the following relief:

       a) An order certifying this case as a class action on behalf of the Classes, as defined above;

           appointing Plaintiff Schmitendorf as the representative of the Classes; and appointing

           his attorneys as Class Counsel;

       b) An award of actual and/or statutory damages and costs;

       c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

       d) An injunction requiring Defendant to cease all unsolicited calling activity, and to

           otherwise protect the interests of the Classes; and

       e) Such further and other relief as the Court deems just and proper.




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                           DESIGNATION OF PLACE OF TRIAL

       Plaintiff Schmitendorf requests Kansas City, Kansas as the place of trial.

                                         JURY DEMAND

       Plaintiff Schmitendorf requests a jury trial on all issues so triable.


Dated: July 26, 2022

                                               Respectfully submitted,

                                               By: /s/ M. Cory Nelson
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                                               Classes

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                                               hac vice motions forthcoming)




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